Fill in this information to identify the case:

Debtor name         Ark Laboratory, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF MICHIGAN

Case number (if known)    23-43403-MLO
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                              $5,390,884.53
      From 1/01/2023 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                             $23,703,603.91
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                             $48,215,386.50
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.                                see attached
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.               see attached

      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                         Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                          Date action was               Amount
                                                                                                                        taken
      Comerica Commercial Lending                      sweep of account                                                 4/6/2023                  $98,130.59
      Services                                         Last 4 digits of account number:
      PO BOX 641618
      Detroit, MI 48264-1618


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case               Court or agency's name and                 Status of case
             Case number                                                            address
      7.1.   see attached                                                                                                       Pending
                                                                                                                                On appeal
                                                                                                                                Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None




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              Recipient's name and address             Description of the gifts or contributions                 Dates given                            Value

      9.1.    see attached
                                                                                                                                                       $0.00

              Recipients relationship to debtor




Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                  Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.                                               Applicant received a retainer of $7,500,
                                                          from which the filing fee of $1,738 was
                                                          paid, leaving a net retainer of $5,762,
                                                          which was applied to prepetition legal fees
               Robert N. Bassel                           of $5,775, leaving a deficiency which
               POBOX T                                    Applicant waives, and a net retainer of
               Clinton, MI 49236                          $0.00.                                                       3/31/2023                  $7,500.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.



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      None.
              Who received transfer?                     Description of property transferred or                     Date transfer            Total amount or
              Address                                    payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                                Dates of occupancy
                                                                                                                      From-To
      14.1.    6600 Highland Rd., Ste. 2                                                                              Jan 2021 to Jan 2022
               Waterford, MI 48327

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.


               Facility name and address                 Nature of the business operation, including type of services               If debtor provides meals
                                                         the debtor provides                                                        and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained.

                 Demographics and pertinent patient information to bill insurance
                 claims
                 Does the debtor have a privacy policy about that information?
                  No
                  Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                          Employer identification number of the plan
                    Helix Diagnostics 401(k) plan - handled by Principal                                  EIN:

                    Has the plan been terminated?
                     No
                     Yes

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or           Date account was                  Last balance
               Address                                  account number             instrument                   closed, sold,                 before closing or
                                                                                                                moved, or                              transfer
                                                                                                                transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
          Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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          No.
          Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
          Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        William Dillon                                                                                                     8/15/2022 to present
                    c/o Debtor

      26a.2.        Rachel Brown                                                                                                       7/1/2021 to 8/15/2022
                    c/o Debtor

      26a.3.        Jay Wolgin                                                                                                         4/12/2021 to
                    c/o Debtor                                                                                                         6/30/2021


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        UHY                                                                                                                4/12/2021 to present
                    230 E Grand River Ave Suite 700,
                    Detroit, MI 48226

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Debtor



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
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          statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
          Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                      Date of inventory       The dollar amount and basis (cost, market,
             inventory                                                                                        or other basis) of each inventory
      27.1 Juan Barber                                                                4/7/2023-4/10/2
      .                                                                               023                      $ 581,697.89 cost basis

             Name and address of the person who has possession of
             inventory records
             Debtor



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      James Grossi                            1344 Addington Ct.                                   CEO                                   100%
                                              Lake Orion, MI 48360

      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      Mark Beauchamp                          6686 Weston Ct.                                      VP Business Development
                                              Clarkston, MI 48348

      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      William Dillon                          28393 Wellington St.,                                Controller/Interim CFO
                                              Farmington, MI 48334



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
          Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.




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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 see the attached
      .

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 26, 2023

/s/ James Grossi                                                James Grossi
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Principal

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes                see attachments




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                    Payments within 90 days

Vendor name   Address                                     Transaction date      Amount      Reason for Payment
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              1/13/2023     $2,580.27 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              1/13/2023     $2,047.74 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              1/13/2023      $520.26 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              1/13/2023       $14.79 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              1/13/2023      $105.34 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              1/17/2023     $1,186.94 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              1/26/2023       $69.83 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                               2/3/2023       $20.22 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                               2/3/2023       $77.05 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                               2/3/2023       $77.47 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                               2/3/2023       $92.62 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                               2/3/2023      $110.42 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                               2/3/2023      $166.38 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              2/14/2023     $2,452.32 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              2/14/2023     $1,885.21 Supplier
              PO BOX 740786
DTE Energy    Cincinnati OH 45274-0786                              2/14/2023     $1,107.23 Supplier



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             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              2/14/2023    $485.95 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              2/14/2023     $97.08 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              2/14/2023     $14.79 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              2/22/2023     $54.70 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                               3/6/2023    $174.73 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                               3/6/2023    $149.17 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                               3/6/2023     $99.27 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                               3/6/2023     $79.53 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                               3/6/2023     $76.18 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                               3/6/2023     $19.74 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              3/15/2023     $15.79 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              3/15/2023     $97.88 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              3/15/2023    $495.37 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              3/15/2023   $1,104.69 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              3/15/2023   $1,848.26 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              3/15/2023   $2,441.29 Supplier
             PO BOX 740786
DTE Energy   Cincinnati OH 45274-0786                              3/24/2023     $66.29 Supplier


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                   PO BOX 740786
DTE Energy         Cincinnati OH 45274-0786                               4/4/2023      $23.24 Supplier
                   PO BOX 740786
DTE Energy         Cincinnati OH 45274-0786                               4/4/2023      $68.29 Supplier
                   PO BOX 740786
DTE Energy         Cincinnati OH 45274-0786                               4/4/2023      $69.72 Supplier
                   PO BOX 740786
DTE Energy         Cincinnati OH 45274-0786                               4/4/2023      $70.32 Supplier
                   PO BOX 740786
DTE Energy         Cincinnati OH 45274-0786                               4/4/2023      $71.37 Supplier
                   PO BOX 740786
DTE Energy         Cincinnati OH 45274-0786                               4/4/2023     $142.29 Supplier
                   65 Harristown Rd
                   Suite 305
                   Glen Rock NJ 07452
Lifepoint Informatics                                                    1/12/2023    $1,000.00 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                       1/13/2023   $31,556.15 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                       1/13/2023   $19,974.91 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                       1/16/2023    $2,956.29 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                       1/18/2023   $15,975.00 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                       1/24/2023   $16,099.24 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                       2/16/2023   $11,144.16 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                        3/9/2023    $3,625.08 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                        3/9/2023    $7,955.84 Supplier
                   13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                        3/9/2023    $1,165.23 Supplier



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                  13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                       3/9/2023   $2,972.68 Supplier
                  13551 Collections CTR DR
Fisher Healthcare Chicago IL 60693                                       3/9/2023   $2,896.70 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     1/19/2023    $853.30 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     1/20/2023    $446.47 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     1/26/2023    $538.64 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     1/31/2023    $339.20 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     2/15/2023    $554.32 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     2/21/2023    $853.30 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     2/21/2023    $446.47 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     2/27/2023    $870.46 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                      3/1/2023    $339.20 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     3/17/2023    $471.84 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     3/20/2023    $853.30 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     3/20/2023    $446.47 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     3/29/2023   $4,280.73 Supplier
                  24050 Northwestern Hwy
Applied Imaging Southfield MI 48075                                     3/30/2023    $339.20 Supplier




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                 2262 South 1200 West
                 Suite 101
Med Water SystemsWoods Cross UT 84087                                  2/6/2023     $355.00 Supplier
                 2262 South 1200 West
                 Suite 101
Med Water SystemsWoods Cross UT 84087                                  3/6/2023     $355.00 Supplier
                 2262 South 1200 West
                 Suite 101
Med Water SystemsWoods Cross UT 84087                                  4/4/2023     $355.00 Supplier
                 28241 Network Pl.
                 Chicago IL 60673-1282
Sysmex America, Inc.                                                  1/17/2023    $1,500.00 Supplier
                 28241 Network Pl.
                 Chicago IL 60673-1282
Sysmex America, Inc.                                                  1/26/2023    $1,490.22 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/12/2023   $10,390.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/12/2023    $1,810.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/12/2023    $5,300.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/12/2023   $10,600.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/17/2023    $8,790.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/17/2023    $5,530.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/17/2023    $3,180.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/17/2023    $3,180.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                    1/24/2023   $10,370.00 Supplier
                 1000 Alfred Nobel Drive
BioPathogenix    Hercules CA 94547                                     3/6/2023   $21,200.00 Supplier



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                1000 Alfred Nobel Drive
BioPathogenix   Hercules CA 94547                                      3/8/2023   $13,780.00 Supplier
                1000 Alfred Nobel Drive
BioPathogenix   Hercules CA 94547                                     3/21/2023   $15,900.00 Supplier
                P O Box 15062
Verizon         Albany NY                                             1/12/2023     $689.71 Supplier
                P O Box 15062
Verizon         Albany NY                                             2/13/2023     $386.93 Supplier
                P O Box 15062
Verizon         Albany NY                                             3/13/2023     $376.63 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                              1/12/2023     $321.48 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                              1/19/2023     $350.30 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                              1/26/2023     $428.92 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                               2/2/2023     $296.20 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                               2/9/2023     $297.00 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                              2/16/2023     $355.51 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                              2/23/2023     $330.37 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                               3/3/2023     $316.65 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                               3/9/2023     $290.90 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                              3/16/2023     $284.49 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                              3/23/2023     $564.00 Supplier
                PO BOX 371461
Fed Ex          Pittsburgh PA 15250-7461                              3/30/2023     $236.12 Supplier


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               PO BOX 371461
Fed Ex         Pittsburgh PA 15250-7461                               4/6/2023    $316.78 Supplier
               PO BOX 371461
Fed Ex         Pittsburgh PA 15250-7461                               4/6/2023      $14.81 Supplier
Microsoft                                                 0          1/12/2023    $178.47 Supplier
Microsoft                                                 0          2/10/2023    $176.17 Supplier
Microsoft                                                 0          2/13/2023       $4.00 Supplier
Microsoft                                                 0          2/13/2023       $8.00 Supplier
Microsoft                                                 0          2/13/2023      $23.32 Supplier
Microsoft                                                 0          2/13/2023      $45.00 Supplier
Microsoft                                                 0          2/13/2023    $174.90 Supplier
Microsoft                                                 0          2/13/2023    $302.40 Supplier
Microsoft                                                 0          2/13/2023   $1,402.59 Supplier
Microsoft                                                 0          2/13/2023      $49.95 Supplier
Microsoft                                                 0          2/13/2023      $57.24 Supplier
Microsoft                                                 0          3/13/2023   $1,278.62 Supplier
Microsoft                                                 0          3/13/2023    $285.68 Supplier
Microsoft                                                 0          3/13/2023    $160.29 Supplier
Microsoft                                                 0          3/13/2023      $52.09 Supplier
Microsoft                                                 0          3/13/2023      $45.00 Supplier
Microsoft                                                 0          3/13/2023       $4.00 Supplier
Microsoft                                                 0          3/13/2023       $8.00 Supplier
Microsoft                                                 0          3/13/2023      $23.32 Supplier
Microsoft                                                 0          3/13/2023      $57.24 Supplier
Microsoft                                                 0          4/10/2023      $76.70 Supplier
Jimmy John's                                              0          1/12/2023    $101.17 Supplier
Pay Plus ACH                                              0          1/12/2023      $26.31 Supplier
Pay Plus ACH                                              0          1/17/2023      $22.36 Supplier
Pay Plus ACH                                              0          1/18/2023      $41.36 Supplier
Pay Plus ACH                                              0          1/19/2023       $8.06 Supplier
Pay Plus ACH                                              0          1/20/2023      $22.24 Supplier
Pay Plus ACH                                              0          1/23/2023       $2.28 Supplier
Pay Plus ACH                                              0          1/25/2023      $11.99 Supplier
Pay Plus ACH                                              0          3/10/2023       $0.75 Supplier


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         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/12/2023     $97.02 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/12/2023    $166.92 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/17/2023     $48.63 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/18/2023     $79.62 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/19/2023    $153.16 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/19/2023    $355.60 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/23/2023    $122.94 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/25/2023    $376.15 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/31/2023    $633.88 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                1/31/2023     $61.36 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 2/1/2023    $180.19 Supplier



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         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 2/2/2023     $31.79 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 2/2/2023     $84.23 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 2/2/2023    $160.51 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 2/3/2023     $67.84 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 2/8/2023    $130.42 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 2/8/2023    $281.65 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/10/2023    $123.43 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/14/2023    $100.45 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/17/2023     $65.68 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/17/2023    $318.51 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/17/2023     $73.14 Supplier



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         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/17/2023     $20.13 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/21/2023    $116.59 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/21/2023    $102.79 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                2/28/2023   $1,144.82 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 3/6/2023     $40.26 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                 3/9/2023    $421.26 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                3/13/2023    $117.54 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                3/13/2023     $69.84 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                3/16/2023     $63.56 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                3/20/2023     $87.93 Supplier
         Synchrony Bank / Amazon
         P.O. Box 960013
Amazon   Orlando FL 32896-0013                                3/21/2023    $206.67 Supplier



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               Synchrony Bank / Amazon
               P.O. Box 960013
Amazon         Orlando FL 32896-0013                                3/21/2023      $49.91 Supplier
               Synchrony Bank / Amazon
               P.O. Box 960013
Amazon         Orlando FL 32896-0013                                3/27/2023     $317.50 Supplier
               Synchrony Bank / Amazon
               P.O. Box 960013
Amazon         Orlando FL 32896-0013                                3/27/2023     $145.21 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/13/2023        $8.28 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/13/2023     $855.52 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/13/2023    $1,004.86 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/13/2023     $742.90 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/13/2023     $200.22 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/13/2023     $651.69 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/13/2023      $76.04 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/13/2023   $21,591.71 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/18/2023    $9,168.56 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/18/2023     $971.76 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/20/2023    $1,046.86 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                               1/20/2023   $10,039.20 Supplier



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               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/20/2023    $1,330.09 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/20/2023     $404.20 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/20/2023    $2,255.57 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/20/2023    $1,330.09 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/20/2023     $212.92 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/20/2023      $43.42 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/20/2023     $442.16 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/27/2023     $263.17 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              1/27/2023     $381.58 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023     $294.58 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023    $1,745.91 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023   $11,603.91 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023     $208.25 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023     $675.74 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023     $118.37 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023    $4,461.11 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023     $200.46 Supplier


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               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/17/2023     $747.76 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023    $1,722.45 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023    $2,646.52 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $605.75 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023   $10,319.10 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $594.87 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $305.13 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $144.56 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $417.94 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $729.15 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $249.39 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $243.69 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $191.13 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $500.52 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $576.44 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              2/22/2023     $662.18 Supplier
               Dept. CH 10241
Henry Schein   Palatine IL 60055-0241                              3/10/2023   $14,915.85 Supplier


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                   Dept. CH 10241
Henry Schein       Palatine IL 60055-0241                              3/17/2023    $1,588.05 Supplier
                   Dept. CH 10241
Henry Schein       Palatine IL 60055-0241                              3/23/2023     $344.60 Supplier
                   Dept. CH 10241
Henry Schein       Palatine IL 60055-0241                              3/24/2023   $13,832.51 Supplier
                   Dept. CH 10241
Henry Schein       Palatine IL 60055-0241                              3/24/2023   $15,804.27 Supplier
                   Dept. CH 10241
Henry Schein       Palatine IL 60055-0241                              3/24/2023    $1,019.36 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/12/2023    $2,353.16 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/12/2023     $141.20 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/17/2023    $1,812.60 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/17/2023     $604.20 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/18/2023    $2,000.00 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/19/2023    $3,531.90 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/19/2023     $211.91 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/24/2023     $540.60 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/26/2023     $381.60 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/26/2023     $623.27 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/31/2023     $604.20 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               1/31/2023    $1,722.50 Supplier


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                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              1/31/2023    $407.04 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               2/1/2023    $140.25 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               2/1/2023   $2,619.70 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               2/1/2023    $271.36 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               2/8/2023    $117.63 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              2/14/2023    $162.17 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              2/17/2023    $311.10 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              2/21/2023   $1,722.50 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              2/21/2023   $2,309.00 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              2/21/2023    $297.54 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              2/21/2023    $254.40 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              2/22/2023     $16.94 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               3/6/2023     $73.92 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               3/6/2023   $1,232.00 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              3/13/2023   $1,817.96 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              3/13/2023    $109.08 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                              3/14/2023   $1,722.50 Supplier


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                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               3/16/2023     $380.90 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               3/16/2023     $247.16 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               3/17/2023      $14.96 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               3/17/2023    $1,955.88 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               3/17/2023     $136.91 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                               3/31/2023     $508.80 Supplier
                   PO Box 850001
Mercedes ScientificOrlando FL 32885-0123                                4/4/2023      $50.84 Supplier
                   PO BOX 77096
                   Minneapolis
Wells Fargo Financial           MN 55480-7796
                      Leasing, Inc.                                    1/13/2023    $1,183.26 Supplier
                   PO BOX 77096
                   Minneapolis
Wells Fargo Financial           MN 55480-7796
                      Leasing, Inc.                                    1/26/2023    $1,024.52 Supplier
                   PO BOX 77096
                   Minneapolis
Wells Fargo Financial           MN 55480-7796
                      Leasing, Inc.                                    2/17/2023    $1,075.25 Supplier
                   PO Box 70539
Cardinal Health Chicago IL 60673-0539                                   2/6/2023     $272.56 Supplier
                   33115 Collection Center Drive
Bizmatics, Inc.    Chicago IL 60693-0331                               1/13/2023    $5,500.00 Supplier
                   13033 19 Mile Rd
Diane Zurchauer Gowen MI 49326-9645                                    1/13/2023     $465.00 Supplier
                   23800 Research Dr.
                   Farmington Hills MI 48335
Ernest Packing Solutions                                               1/13/2023     $191.28 Supplier
                   Delta Containers Division
                   6616 Solution Center
Landaal Packaging Chicago
                   SystemsIL 60677-6006                                1/13/2023    $1,508.72 Supplier
                   PO Box 33608
Blue Care NetworkDetroit MI 48232-5608                                 1/13/2023   $16,683.28 Healthcare



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                   PO Box 33608
Blue Care NetworkDetroit MI 48232-5608                               2/21/2023   $18,057.76 Healthcare
                   PO Box 33608
Blue Care NetworkDetroit MI 48232-5608                               3/29/2023   $18,459.73 Healthcare
                   PO Box 674416
                   Detroit
Blue Cross Blue Shield     MI 478267-4416
                       of Michigan                                   1/13/2023   $42,887.43 Healthcare
                   PO Box 674416
                   Detroit
Blue Cross Blue Shield     MI 478267-4416
                       of Michigan                                   1/13/2023    $9,274.45 Healthcare
                   PO Box 674416
                   Detroit
Blue Cross Blue Shield     MI 478267-4416
                       of Michigan                                   2/21/2023    $4,529.37 Healthcare
                   PO Box 674416
                   Detroit
Blue Cross Blue Shield     MI 478267-4416
                       of Michigan                                   2/21/2023   $25,573.03 Healthcare
                   PO Box 674416
                   Detroit
Blue Cross Blue Shield     MI 478267-4416
                       of Michigan                                    3/1/2023    $1,366.03 Healthcare
                   PO Box 674416
                   Detroit
Blue Cross Blue Shield     MI 478267-4416
                       of Michigan                                   3/28/2023    $4,217.85 Healthcare
                   PO Box 674416
                   Detroit
Blue Cross Blue Shield     MI 478267-4416
                       of Michigan                                   3/28/2023   $34,804.90 Healthcare
                   Payment Processing Center
                   P.O. Box 2147
Mutual of Omaha Omaha NE 68103-2147                                  1/13/2023    $8,049.16 Healthcare
                   Payment Processing Center
                   P.O. Box 2147
Mutual of Omaha Omaha NE 68103-2147                                  2/21/2023   $10,529.85 Healthcare
                   36 Cordage Park
                   Suite 302
FrontRunnerHC IncPlymouth MA 02360                                   1/13/2023    $8,449.72 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               1/18/2023     $892.41 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               1/18/2023      $81.24 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               1/25/2023     $899.72 Supplier



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                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              1/25/2023    $159.36 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               2/1/2023     $81.24 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               2/1/2023    $892.41 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               2/8/2023    $159.36 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               2/8/2023    $899.72 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              2/15/2023     $81.24 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              2/15/2023    $892.41 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              2/22/2023    $899.72 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              2/22/2023    $159.36 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               3/1/2023    $892.41 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               3/1/2023     $81.24 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               3/8/2023    $159.36 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               3/8/2023    $899.72 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              3/15/2023     $81.24 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              3/15/2023    $892.41 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              3/22/2023    $899.72 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                              3/22/2023    $159.36 Supplier


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                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               3/29/2023      $81.24 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                               3/29/2023     $892.41 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                                4/5/2023     $899.72 Supplier
                   6800 Cintas blvd
Cintas Corp. (ACH) Cincinnati OH 45262                                4/5/2023      $159.36 Supplier
Comerica                                                  0          1/13/2023    $3,374.00 Debt
Comerica                                                  0          1/24/2023   $70,998.58 Debt
Comerica                                                  0          1/31/2023   $19,527.74 Debt
Comerica                                                  0           2/1/2023   $40,205.09 Debt
Comerica                                                  0           2/7/2023   $10,433.15 Debt
Comerica                                                  0          2/13/2023    $2,428.82 Debt
Comerica                                                  0          2/14/2023   $12,496.24 Debt
Comerica                                                  0          2/21/2023   $24,129.87 Debt
Comerica                                                  0           3/1/2023   $19,808.40 Debt
Comerica                                                  0           3/1/2023   $39,061.98 Debt
Comerica                                                  0           3/7/2023   $25,469.21 Debt
Comerica                                                  0          3/13/2023    $2,284.68 Debt
Comerica                                                  0          3/14/2023   $32,778.67 Debt
Comerica                                                  0          3/21/2023   $34,307.75 Debt
Comerica                                                  0          3/28/2023   $25,011.29 Debt
Comerica                                                  0          3/31/2023   $43,820.34 Debt
Comerica                                                  0           4/6/2023   $98,130.59 Debt
                   13 N. Washington St.
                   #706
                   Ypsilanti
The Sports Marketing  Agency,MI INC
                                48197                                1/13/2023   $38,000.00 Services
                   13 N. Washington St.
                   #706
                   Ypsilanti
The Sports Marketing  Agency,MI INC
                                48197                                1/19/2023   $50,000.00 Services
                   13 N. Washington St.
                   #706
                   Ypsilanti
The Sports Marketing  Agency,MI INC
                                48197                                1/27/2023   $20,000.00 Services


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                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                 2/7/2023   $10,000.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                2/10/2023   $10,000.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                2/14/2023    $5,000.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                2/17/2023   $29,000.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                2/22/2023   $16,000.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                2/24/2023   $24,000.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                 3/1/2023    $7,500.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                 3/3/2023   $20,000.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                 3/6/2023   $28,500.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                3/10/2023   $20,000.00 Services
                 13 N. Washington St.
                 #706
                 Ypsilanti
The Sports Marketing       MI INC
                     Agency,  48197                                3/13/2023    $7,000.00 Services



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                  13 N. Washington St.
                  #706
                  Ypsilanti
The Sports Marketing        MI INC
                      Agency,  48197                                 3/16/2023   $37,500.00 Services
                  13 N. Washington St.
                  #706
                  Ypsilanti
The Sports Marketing        MI INC
                      Agency,  48197                                 3/21/2023    $5,000.00 Services
                  13 N. Washington St.
                  #706
                  Ypsilanti
The Sports Marketing        MI INC
                      Agency,  48197                                 3/27/2023   $14,000.00 Services
                  13 N. Washington St.
                  #706
                  Ypsilanti
The Sports Marketing        MI INC
                      Agency,  48197                                  4/4/2023   $10,000.00 Services
                  13 N. Washington St.
                  #706
                  Ypsilanti
The Sports Marketing        MI INC
                      Agency,  48197                                 4/12/2023   $30,000.00 Services
                  PO Box 2023
Brehob CORPORATIONIndianapolis IN 46206-2023                         1/13/2023    $2,169.37 Supplier
                  PO Box 2023
Brehob CORPORATIONIndianapolis IN 46206-2023                         1/13/2023     $394.20 Supplier
                  PO Box 2023
Brehob CORPORATIONIndianapolis IN 46206-2023                         1/13/2023      $76.90 Supplier
                  110 Centrum Drive
IMCS, Inc.        Irmo SC 29063                                      1/13/2023    $3,700.00 Supplier
                  110 Centrum Drive
IMCS, Inc.        Irmo SC 29063                                      1/13/2023    $3,700.00 Supplier
                  110 Centrum Drive
IMCS, Inc.        Irmo SC 29063                                      2/22/2023    $3,700.00 Supplier
                  110 Centrum Drive
IMCS, Inc.        Irmo SC 29063                                      3/24/2023    $3,704.00 Supplier
                  12100 W. 6th Ave
Agena Bioscience, Lakewood
                  Inc.       CO 80228                                1/13/2023    $1,000.00 Supplier
                  12100 W. 6th Ave
Agena Bioscience, Lakewood
                  Inc.       CO 80228                                1/20/2023    $1,000.00 Supplier



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                  12100 W. 6th Ave
Agena Bioscience, Lakewood
                  Inc.       CO 80228                               2/15/2023    $5,479.07 Supplier
                  12100 W. 6th Ave
Agena Bioscience, Lakewood
                  Inc.       CO 80228                               2/24/2023    $1,000.00 Supplier
                  12100 W. 6th Ave
Agena Bioscience, Lakewood
                  Inc.       CO 80228                                3/6/2023    $1,000.00 Supplier
                  12100 W. 6th Ave
Agena Bioscience, Lakewood
                  Inc.       CO 80228                                3/7/2023   $23,676.18 Supplier
                  12100 W. 6th Ave
Agena Bioscience, Lakewood
                  Inc.       CO 80228                               3/13/2023    $1,000.00 Supplier
                  12100 W. 6th Ave
Agena Bioscience, Lakewood
                  Inc.       CO 80228                               3/24/2023    $2,000.00 Supplier
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  1/13/2023   $12,000.00 Services
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  1/20/2023   $25,000.00 Services
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  1/20/2023   $25,000.00 Services
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  1/20/2023 $100,000.00 Services
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  2/17/2023   $20,000.00 Services
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  2/22/2023   $50,000.00 Services
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  3/16/2023   $50,000.00 Services
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  3/17/2023   $50,000.00 Services
                  8470 S. Shore Dr.
Gemini Lab Group Clarston MI 48348                                  4/12/2023 $195,000.00 Services
                  42020 Koppernick Rd #208
                  CantonDisposal
Superior Medical Waste    MI 48187                                  1/13/2023    $1,000.00 Services
                  42020 Koppernick Rd #208
                  CantonDisposal
Superior Medical Waste    MI 48187                                  3/13/2023    $1,887.00 Services


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                 42020 Koppernick Rd #208
                 CantonDisposal
Superior Medical Waste   MI 48187                                3/21/2023    $1,000.00 Services
                 42020 Koppernick Rd #208
                 CantonDisposal
Superior Medical Waste   MI 48187                                 4/4/2023    $1,977.00 Services
                 3000 Town Center
                 Suite 75
MedMatch         Southfield MI 48075                             1/13/2023    $2,000.00 Services
                 3000 Town Center
                 Suite 75
MedMatch         Southfield MI 48075                             1/20/2023    $2,000.00 Services
                 3000 Town Center
                 Suite 75
MedMatch         Southfield MI 48075                             1/27/2023    $2,000.00 Services
                 10047 McCauley Ranch Ave.
                 Las Vegas NV 89148
Sony Varghese (ACH)                                              1/13/2023    $1,755.00 Services
                 10047 McCauley Ranch Ave.
                 Las Vegas NV 89148
Sony Varghese (ACH)                                              1/20/2023    $2,520.00 Services
                 PO BOX 72243
UHY, LLP         Cleveland OH 44192-0002                         1/13/2023   $10,000.00 Services
                 PO BOX 72243
UHY, LLP         Cleveland OH 44192-0002                         1/20/2023   $10,000.00 Services
                 PO BOX 72243
UHY, LLP         Cleveland OH 44192-0002                         1/27/2023    $5,000.00 Services
                 PO BOX 72243
UHY, LLP         Cleveland OH 44192-0002                         1/27/2023    $1,730.00 Services
                 PO BOX 72243
UHY, LLP         Cleveland OH 44192-0002                         1/27/2023    $2,180.00 Services
                 3724 Cheryl Dr.
Avairis, Inc.    Commerce Township MI 48382                      1/13/2023    $2,660.00 Supplier
                 3724 Cheryl Dr.
Avairis, Inc.    Commerce Township MI 48382                      1/13/2023    $1,340.00 Supplier
                 3724 Cheryl Dr.
Avairis, Inc.    Commerce Township MI 48382                      1/20/2023    $1,040.00 Supplier



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                  3724 Cheryl Dr.
Avairis, Inc.     Commerce Township MI 48382                      1/20/2023     $960.00 Supplier
                  3724 Cheryl Dr.
Avairis, Inc.     Commerce Township MI 48382                      1/25/2023    $2,190.00 Supplier
                  3724 Cheryl Dr.
Avairis, Inc.     Commerce Township MI 48382                      3/13/2023    $1,000.00 Supplier
                  3724 Cheryl Dr.
Avairis, Inc.     Commerce Township MI 48382                      3/21/2023    $1,000.00 Supplier
                  140 Industrial Drive
MedSpeed, LLC Elmhurst IL 60126                                   1/13/2023   $30,000.00 Services
                  140 Industrial Drive
MedSpeed, LLC Elmhurst IL 60126                                   1/20/2023   $30,000.00 Services
                  140 Industrial Drive
MedSpeed, LLC Elmhurst IL 60126                                   1/27/2023   $30,000.00 Services
                  140 Industrial Drive
MedSpeed, LLC Elmhurst IL 60126                                   2/10/2023   $23,000.00 Services
                  140 Industrial Drive
MedSpeed, LLC Elmhurst IL 60126                                   2/17/2023   $15,087.10 Services
                  140 Industrial Drive
MedSpeed, LLC Elmhurst IL 60126                                   2/17/2023   $14,912.90 Services
                  140 Industrial Drive
MedSpeed, LLC Elmhurst IL 60126                                   2/24/2023    $5,000.00 Services
                  140 Industrial Drive
MedSpeed, LLC Elmhurst IL 60126                                   3/13/2023   $30,000.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                              1/13/2023    $1,000.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                              1/20/2023    $1,000.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                              1/27/2023    $1,000.00 Services



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                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                                 2/10/2023    $500.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                                 2/17/2023    $500.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                                 2/24/2023    $500.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                                  3/6/2023    $500.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                                 3/10/2023    $500.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                                 3/17/2023    $500.00 Services
                  901 Wilshire Drive
                  Ste 255
                  Troy MI 48084
mCubed Staffing, LLC                                                 3/24/2023    $500.00 Services
                  23560 Haggerty Rd
Wintegrity        Farmington Hills MI 48335                          1/13/2023   $5,000.00 Supplier
                  23560 Haggerty Rd
Wintegrity        Farmington Hills MI 48335                          2/24/2023   $1,000.00 Supplier
                  23560 Haggerty Rd
Wintegrity        Farmington Hills MI 48335                          3/23/2023   $1,000.00 Supplier
                  Diamond View
                  350 Tenth Ave
ClickUp           San Diego CA 92101                                 1/13/2023      $9.81 Supplier
                  Diamond View
                  350 Tenth Ave
ClickUp           San Diego CA 92101                                 1/17/2023      $3.68 Supplier



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                   Diamond View
                   350 Tenth Ave
ClickUp            San Diego CA 92101                                 1/20/2023     $418.00 Supplier
                   Diamond View
                   350 Tenth Ave
ClickUp            San Diego CA 92101                                 1/27/2023      $30.65 Supplier
                   Diamond View
                   350 Tenth Ave
ClickUp            San Diego CA 92101                                 2/21/2023     $418.00 Supplier
                   Diamond View
                   350 Tenth Ave
ClickUp            San Diego CA 92101                                 3/20/2023     $418.00 Supplier
                   PO BOX 415615
Athenahealth, Inc. Boston MA 02241-5615                                3/9/2023    $3,781.00 Supplier
                   P.O. Box 8224018
                   Philadelphia
De Lage Landen Financial        PA 19182-4018
                          Services, Inc.                              1/18/2023     $301.49 Supplier
                   P.O. Box 8224018
                   Philadelphia
De Lage Landen Financial        PA 19182-4018
                          Services, Inc.                               2/2/2023     $301.49 Supplier
                   P.O. Box 8224018
                   Philadelphia
De Lage Landen Financial        PA 19182-4018
                          Services, Inc.                              2/16/2023     $301.49 Supplier
                   P.O. Box 8224018
                   Philadelphia
De Lage Landen Financial        PA 19182-4018
                          Services, Inc.                               3/2/2023     $301.49 Supplier
                   P.O. Box 8224018
                   Philadelphia
De Lage Landen Financial        PA 19182-4018
                          Services, Inc.                              3/16/2023     $301.49 Supplier
                   P.O. Box 8224018
                   Philadelphia
De Lage Landen Financial        PA 19182-4018
                          Services, Inc.                               4/4/2023     $301.49 Supplier
                   47943 Van Dyke Ave.
Polar Ice          Shelby Twp. MI 48317                               1/17/2023    $1,020.00 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                              1/18/2023      $65.17 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                              1/19/2023   $35,000.00 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                              1/20/2023    $5,043.28 Supplier


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                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/10/2023    $1,015.51 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/10/2023    $1,089.68 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/10/2023    $1,089.68 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/24/2023    $8,388.00 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/28/2023    $2,426.00 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/28/2023    $1,213.00 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/28/2023    $1,028.00 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/28/2023    $1,213.00 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/28/2023     $670.07 Supplier
                   PO Box 92679
Abbott LaboratoriesChicago IL 60675-2679                               3/28/2023    $1,130.80 Supplier
                   12088 Collections Center Dr.
                   Chicage IL 60693
Life Technologies Corporation                                          1/16/2023   $38,400.13 Supplier
                   12088 Collections Center Dr.
                   Chicage IL 60693
Life Technologies Corporation                                          1/18/2023    $8,853.32 Supplier
                   12088 Collections Center Dr.
                   Chicage IL 60693
Life Technologies Corporation                                          1/19/2023   $13,920.00 Supplier
                   12088 Collections Center Dr.
                   Chicage IL 60693
Life Technologies Corporation                                          1/26/2023    $8,853.32 Supplier
                   P.O. Box 809488
UPS                Chicago IL 60680-9488                               1/17/2023     $763.87 Supplier
                   P.O. Box 809488
UPS                Chicago IL 60680-9488                               1/17/2023     $428.00 Supplier
                   P.O. Box 809488
UPS                Chicago IL 60680-9488                               1/17/2023      $30.00 Supplier


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      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/17/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/17/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/17/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/17/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/31/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/31/2023    $964.84 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/31/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/31/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/31/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/31/2023    $529.15 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/31/2023     $10.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              1/31/2023    $549.83 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/1/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/1/2023   $1,198.87 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/1/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/1/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/1/2023     $30.00 Supplier


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      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/1/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/7/2023    $783.45 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/8/2023   $1,049.84 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/8/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               2/8/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023   $1,222.93 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023    $720.88 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/14/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/21/2023   $1,694.44 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/21/2023    $677.55 Supplier


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      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/21/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/21/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/21/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/21/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/21/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/28/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/28/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/28/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/28/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/28/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/28/2023    $641.39 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              2/28/2023   $1,183.23 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               3/7/2023   $1,117.64 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               3/7/2023    $371.60 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               3/7/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               3/7/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               3/7/2023     $30.00 Supplier


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      P.O. Box 809488
UPS   Chicago IL 60680-9488                               3/7/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                               3/7/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/14/2023   $1,841.52 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/14/2023    $405.43 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/14/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/14/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/21/2023     $18.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/21/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/21/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/21/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/21/2023     $30.00 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/21/2023   $1,285.48 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/21/2023    $459.53 Supplier
      P.O. Box 809488
UPS   Chicago IL 60680-9488                              3/28/2023     $18.00 Supplier


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                  P.O. Box 809488
UPS               Chicago IL 60680-9488                              3/28/2023     $30.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                              3/28/2023     $30.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                              3/28/2023     $30.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                              3/28/2023     $30.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                              3/28/2023    $518.90 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                              3/28/2023   $1,099.62 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                               4/4/2023     $18.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                               4/4/2023     $30.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                               4/4/2023     $30.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                               4/4/2023     $30.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                               4/4/2023     $30.00 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                               4/4/2023    $691.80 Supplier
                  P.O. Box 809488
UPS               Chicago IL 60680-9488                               4/4/2023   $1,520.40 Supplier
                  PO BOX 4504
                  Troy MI 48099-4504
Credential Check Corporation                                         1/18/2023    $208.00 Supplier
                  55166 Timberland Lane
                  MacombLLC
Gena's Timeless Cleaning,  MI 48042                                  1/17/2023   $3,000.00 Services
                  55166 Timberland Lane
                  MacombLLC
Gena's Timeless Cleaning,  MI 48042                                   2/1/2023   $3,000.00 Services
                  55166 Timberland Lane
                  MacombLLC
Gena's Timeless Cleaning,  MI 48042                                  2/21/2023   $3,000.00 Services


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                  55166 Timberland Lane
                  MacombLLC
Gena's Timeless Cleaning,  MI 48042                                    3/16/2023    $3,000.00 Services
                  55166 Timberland Lane
                  MacombLLC
Gena's Timeless Cleaning,  MI 48042                                    3/21/2023    $3,000.00 Services
                  55166 Timberland Lane
                  MacombLLC
Gena's Timeless Cleaning,  MI 48042                                    3/27/2023    $3,000.00 Services
                  7573 Cottonwood Dr
                  Niagra Falls Ontario L2H 0L3
Bett Kimutai      Canada                                               1/20/2023    $2,423.20 Services
                  7573 Cottonwood Dr
                  Niagra Falls Ontario L2H 0L3
Bett Kimutai      Canada                                                2/3/2023    $2,423.20 Services
                  7573 Cottonwood Dr
                  Niagra Falls Ontario L2H 0L3
Bett Kimutai      Canada                                               2/17/2023    $2,423.20 Services
                  7573 Cottonwood Dr
                  Niagra Falls Ontario L2H 0L3
Bett Kimutai      Canada                                               2/17/2023        $9.00 Services
                  7573 Cottonwood Dr
                  Niagra Falls Ontario L2H 0L3
Bett Kimutai      Canada                                                3/3/2023    $2,423.20 Services
                  7573 Cottonwood Dr
                  Niagra Falls Ontario L2H 0L3
Bett Kimutai      Canada                                                3/3/2023        $9.00 Services
                  7573 Cottonwood Dr
                  Niagra Falls Ontario L2H 0L3
Bett Kimutai      Canada                                               3/17/2023    $1,817.40 Services
                  7573 Cottonwood Dr
                  Niagra Falls Ontario L2H 0L3
Bett Kimutai      Canada                                               3/31/2023    $2,423.20 Services
                  7381 Grachen Dr. SE
                  Grand Rapids MI 49546
Labtek, Incorporated                                                   1/16/2023   $11,733.02 Supplier
                  7381 Grachen Dr. SE
                  Grand Rapids MI 49546
Labtek, Incorporated                                                   1/23/2023    $5,553.28 Supplier


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                  7381 Grachen Dr. SE
                  Grand Rapids MI 49546
Labtek, Incorporated                                                   3/6/2023     $899.38 Supplier
                  7381 Grachen Dr. SE
                  Grand Rapids MI 49546
Labtek, Incorporated                                                  3/13/2023    $5,421.84 Supplier
                  7381 Grachen Dr. SE
                  Grand Rapids MI 49546
Labtek, Incorporated                                                  3/27/2023    $2,780.88 Supplier
                  28563 Network Place
                  Chicago ILLLC
Evoqua Water Technologies    60673-1285                               1/16/2023    $2,151.03 Supplier
Shawna Willaeys                                            0          1/16/2023       $29.97 Supplier
QuickBooks Payments                                        0          1/16/2023       $94.50 Services
QuickBooks Payments                                        0          1/19/2023       $10.00 Services
QuickBooks Payments                                        0          1/25/2023     $676.53 Services
QuickBooks Payments                                        0           2/3/2023       $27.65 Services
QuickBooks Payments                                        0           2/9/2023       $35.34 Services
QuickBooks Payments                                        0          2/14/2023       $26.70 Services
QuickBooks Payments                                        0          2/16/2023       $62.37 Services
QuickBooks Payments                                        0          2/17/2023     $625.49 Services
QuickBooks Payments                                        0          2/20/2023       $18.78 Services
QuickBooks Payments                                        0          2/28/2023       $28.62 Services
QuickBooks Payments                                        0           3/1/2023       $14.25 Services
QuickBooks Payments                                        0           3/2/2023       $15.48 Services
QuickBooks Payments                                        0          3/28/2023       $31.11 Services
QuickBooks Payments                                        0          3/31/2023       $41.83 Services
QuickBooks Payments                                        0           4/3/2023       $10.00 Services
QuickBooks Payments                                        0          4/12/2023       $25.72 Services
                  PO Box 21042
LabSoft, Inc.     Tampa FL 33622                                      1/17/2023     $950.00 Supplier
                  PO Box 21042
LabSoft, Inc.     Tampa FL 33622                                       3/6/2023     $590.00 Supplier
                  Alere San Diego dba Immunalysis
                  P.O. Box 102317
                  Pasadena CA 91189-2317
Immunalysis Corporation                                               1/17/2023   $12,000.00 Supplier




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                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              2/14/2023   $11,000.00 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              2/16/2023    $7,362.85 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              2/23/2023    $2,316.53 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              2/23/2023      $58.44 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              2/23/2023     $106.74 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              2/23/2023    $4,317.14 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              2/23/2023     $183.39 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              2/23/2023    $1,881.43 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                               3/3/2023    $3,927.75 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                               3/3/2023    $2,072.25 Supplier
                 Alere San Diego dba Immunalysis
                 P.O. Box 102317
                 Pasadena CA 91189-2317
Immunalysis Corporation                                              3/10/2023    $4,477.59 Supplier



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                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/16/2023    $559.67 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/16/2023    $116.34 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/16/2023   $6,156.59 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/16/2023    $139.11 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/16/2023    $640.90 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/16/2023   $1,668.50 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/24/2023   $4,462.27 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/24/2023    $923.85 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/24/2023     $15.83 Supplier
                   Alere San Diego dba Immunalysis
                   P.O. Box 102317
                   Pasadena CA 91189-2317
Immunalysis Corporation                                                3/28/2023   $1,924.83 Supplier
                   6650 Highland Rd
                   Waterford
Dave's Electric Services, Inc. MI 48327                                1/17/2023   $1,242.50 Supplier
                   PO BOX 1227
                   Wake&Forest
Carolina Coastal Paper            NC Supply,
                           Janitorial 27588 LLC                        1/17/2023    $149.08 Supplier


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                  PO BOX 1227
                  Wake&Forest
Carolina Coastal Paper          NC Supply,
                         Janitorial 27588 LLC                         1/19/2023    $1,938.01 Supplier
                  62510 Collections Center Drive
AB Sciex, LLC     Chicago IL 60693-0625                               1/17/2023    $6,251.35 Supplier
                  62510 Collections Center Drive
AB Sciex, LLC     Chicago IL 60693-0625                               2/10/2023    $2,000.00 Supplier
                  62510 Collections Center Drive
AB Sciex, LLC     Chicago IL 60693-0625                               2/24/2023    $6,258.20 Supplier
                  62510 Collections Center Drive
AB Sciex, LLC     Chicago IL 60693-0625                               2/24/2023    $6,251.35 Supplier
                  105 4th Street E
LabPath ConsultingTierra Verde FL 33715                               1/17/2023    $5,000.00 Services
                  2007 Eastcastle Drive SE
                  Grand Rapids MI 49508
Empirical Biosciences                                                 1/17/2023    $2,000.00 Supplier
                  2007 Eastcastle Drive SE
                  Grand Rapids MI 49508
Empirical Biosciences                                                 2/14/2023    $3,200.00 Supplier
Medicare                                                   0          1/17/2023     $688.00 Supplier
                  P.O. Box 880823
Arkstone Medical Boca Raton FL 33488                                  1/17/2023   $13,702.50 Supplier
                  P.O. Box 880823
Arkstone Medical Boca Raton FL 33488                                  2/21/2023   $10,550.00 Supplier
                  P.O. Box 880823
Arkstone Medical Boca Raton FL 33488                                  3/17/2023   $10,625.00 Supplier
Vistaprint                                                 0          1/17/2023    $1,315.45 Supplier
Team Financial Group (ACH)                                 0          1/17/2023    $3,693.00 Debt
Team Financial Group (ACH)                                 0          1/17/2023     $878.53 Debt
Team Financial Group (ACH)                                 0          1/17/2023     $626.56 Debt
Team Financial Group (ACH)                                 0          1/18/2023     $189.74 Debt
Team Financial Group (ACH)                                 0          1/18/2023    $5,854.00 Debt
Team Financial Group (ACH)                                 0          1/23/2023   $15,452.00 Debt
Team Financial Group (ACH)                                 0           2/1/2023    $4,877.00 Debt
Team Financial Group (ACH)                                 0           2/1/2023    $3,720.00 Debt
Team Financial Group (ACH)                                 0           2/6/2023    $4,117.00 Debt
Team Financial Group (ACH)                                 0           2/6/2023    $3,775.00 Debt


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Team Financial Group (ACH)                               0           2/6/2023    $6,732.00 Debt
Team Financial Group (ACH)                               0           2/7/2023    $4,696.00 Debt
Team Financial Group (ACH)                               0          2/14/2023    $3,693.00 Debt
Team Financial Group (ACH)                               0          2/15/2023     $878.53 Debt
Team Financial Group (ACH)                               0          2/16/2023     $626.56 Debt
Team Financial Group (ACH)                               0          2/21/2023    $5,854.00 Debt
Team Financial Group (ACH)                               0          2/21/2023     $189.74 Debt
Team Financial Group (ACH)                               0          2/22/2023   $15,452.00 Debt
Team Financial Group (ACH)                               0           3/1/2023    $4,877.00 Debt
Team Financial Group (ACH)                               0           3/1/2023    $3,720.00 Debt
Team Financial Group (ACH)                               0           3/6/2023    $6,732.00 Debt
Team Financial Group (ACH)                               0           3/6/2023    $4,117.00 Debt
Team Financial Group (ACH)                               0           3/6/2023    $3,775.00 Debt
Team Financial Group (ACH)                               0           3/7/2023    $4,696.00 Debt
Team Financial Group (ACH)                               0          3/14/2023    $3,693.00 Debt
Team Financial Group (ACH)                               0          3/15/2023     $878.53 Debt
Team Financial Group (ACH)                               0          3/16/2023     $626.56 Debt
Team Financial Group (ACH)                               0          3/20/2023    $5,854.00 Debt
Team Financial Group (ACH)                               0          3/20/2023     $189.74 Debt
Team Financial Group (ACH)                               0          3/22/2023   $15,452.00 Debt
Team Financial Group (ACH)                               0           4/3/2023    $4,877.00 Debt
Team Financial Group (ACH)                               0           4/5/2023    $3,775.00 Debt
Team Financial Group (ACH)                               0           4/5/2023    $4,117.00 Debt
Team Financial Group (ACH)                               0           4/5/2023    $6,732.00 Debt
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                         1/17/2023     $169.90 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                         1/19/2023     $428.15 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                         1/23/2023     $121.90 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                          2/6/2023     $273.64 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                         2/13/2023     $168.50 Supplier


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                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                          2/16/2023    $169.90 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                          2/21/2023    $671.76 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                          2/21/2023    $121.90 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                           3/6/2023    $273.64 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                          3/13/2023    $168.50 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                          3/16/2023    $169.90 Supplier
                 P.O. Pox 37601
Comcast          Philadelphia PA 19101-0601                           4/4/2023    $273.64 Supplier
                 Bank of America
                 7055 Collections Center Dr.
                 Chicago IL 60693
Microgenics Corporation                                              1/23/2023   $2,009.94 Supplier
                 Bank of America
                 7055 Collections Center Dr.
                 Chicago IL 60693
Microgenics Corporation                                              2/16/2023    $738.49 Supplier
                 Bank of America
                 7055 Collections Center Dr.
                 Chicago IL 60693
Microgenics Corporation                                              2/16/2023    $198.65 Supplier
                 Bank of America
                 7055 Collections Center Dr.
                 Chicago IL 60693
Microgenics Corporation                                              2/16/2023   $5,588.62 Supplier
                 Bank of America
                 7055 Collections Center Dr.
                 Chicago IL 60693
Microgenics Corporation                                              2/16/2023   $1,370.93 Supplier
                 801 Garden Street #201
FastSpring       Santa Barbara CA 93101                              1/18/2023    $365.70 Supplier
                 15 West Scenic Pointe Drive
                 Ste 100
Health Equity    Draper UT 84020                                     1/18/2023     $20.00 Healthcare


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                   15 West Scenic Pointe Drive
                   Ste 100
Health Equity      Draper UT 84020                                  1/27/2023     $28.62 Healthcare
                   15 West Scenic Pointe Drive
                   Ste 100
Health Equity      Draper UT 84020                                   3/9/2023    $581.25 Healthcare
                   15 West Scenic Pointe Drive
                   Ste 100
Health Equity      Draper UT 84020                                  3/27/2023    $193.75 Healthcare
                   15 West Scenic Pointe Drive
                   Ste 100
Health Equity      Draper UT 84020                                   4/3/2023    $193.75 Healthcare
                   612 Deauville Ln.
Amro Almradi MDPC  Bloomfield
                      PLLC     Hills MI 48304                       1/26/2023   $6,000.00 Services
                   PO BOX 660409
Staples            Dallas TX 75266-0409                             1/20/2023    $572.62 Supplier
                   6213 Skyline Drive
                   Suite 2100
                   Houston
Dell Marketing LP c/o       TX 77057
                       Lam, Lyn & Philip P.C.                       1/19/2023    $500.00 Supplier
                   6213 Skyline Drive
                   Suite 2100
                   Houston
Dell Marketing LP c/o       TX 77057
                       Lam, Lyn & Philip P.C.                       1/26/2023    $500.00 Supplier
                   6213 Skyline Drive
                   Suite 2100
                   Houston
Dell Marketing LP c/o       TX 77057
                       Lam, Lyn & Philip P.C.                       3/24/2023    $500.00 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              1/19/2023   $2,260.80 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              1/19/2023   $1,653.70 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              1/19/2023   $1,821.60 Supplier


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                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              1/19/2023   $1,460.40 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              1/19/2023   $2,454.40 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                               2/7/2023   $9,755.30 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              2/21/2023   $5,434.20 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              3/27/2023   $1,410.40 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              3/29/2023   $5,938.70 Supplier
                   US BANK CN-OH-L1WH Lockbox 005634
                   5065 Wooster Road
                   Cincinnati OH 45226
Cerilliant Corporation                                              4/10/2023     $26.90 Supplier
Jobs Core Inc.                                           0          1/19/2023    $449.00 Supplier
Jobs Core Inc.                                           0          2/21/2023    $449.00 Supplier
Jobs Core Inc.                                           0          3/20/2023    $449.00 Supplier
                   1405 Xenium Lane North
                   Suite 140
Meritain Health Minneapolis MN 55441                                1/19/2023    $315.00 Supplier
Digital Check Corp                                       0          1/25/2023     $39.52 Supplier
                   PO BOX 952366
Cotiviti Inc.      St Louis MO 63195-2366                           1/20/2023   $2,275.00 Supplier
Paylocity                                                0          1/20/2023   $3,302.99 Services
Paylocity                                                0          2/23/2023   $5,117.27 Services
Paylocity                                                0          2/24/2023    $193.75 Services
Paylocity                                                0          3/20/2023   $3,356.76 Services


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                   10019 Fair Oaks Drive
                   Goodrich
SAR Consulting Services,  LLCMI 48438                                 1/20/2023   $5,000.00 Services
                   10019 Fair Oaks Drive
                   Goodrich
SAR Consulting Services,  LLCMI 48438                                 2/22/2023   $5,000.00 Services
                   863 N. Pine, Suite A
Recovery PathwaysEssexville MI 48732                                  1/20/2023    $887.45 Supplier
                   863 N. Pine, Suite A
Recovery PathwaysEssexville MI 48732                                  3/15/2023    $887.45 Supplier
                   10071 Burnside Court
Newbsknob, LLC Grand Blanc MI 48439                                   1/20/2023   $2,875.00 Rent
                   10071 Burnside Court
Newbsknob, LLC Grand Blanc MI 48439                                   3/10/2023   $2,875.00 Rent
                   1081 S. State Rd
MAC Pizza, LLC Davison MI 48423                                       1/20/2023   $1,310.00 Rent
                   1081 S. State Rd
MAC Pizza, LLC Davison MI 48423                                       3/15/2023   $1,310.00 Rent
                   5728 Schaefer Rd
                   Suite 200
Younis Enterprises Dearborn MI 48126                                  1/20/2023   $5,001.95 Rent
                   5728 Schaefer Rd
                   Suite 200
Younis Enterprises Dearborn MI 48126                                  3/10/2023   $5,001.95 Rent
Unique Vac Rep                                             0          1/20/2023    $400.00 Supplier
Unique Vac Rep                                             0          1/20/2023    $400.00 Supplier
Unique Vac Rep                                             0          1/20/2023    $400.00 Supplier
Unique Vac Rep                                             0          1/20/2023    $400.00 Supplier
Unique Vac Rep                                             0          1/20/2023    $400.00 Supplier
Unique Vac Rep                                             0          1/20/2023    $400.00 Supplier
Unique Vac Rep                                             0           2/7/2023    $400.00 Supplier
                   25595 Rouge River Drive
CI Web Design, IncDearborn Heights Michigan 48127                     1/23/2023    $940.00 Supplier
                   25595 Rouge River Drive
CI Web Design, IncDearborn Heights Michigan 48127                     1/23/2023    $940.00 Supplier



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                    25595 Rouge River Drive
CI Web Design, IncDearborn Heights Michigan 48127                     1/23/2023    $940.00 Supplier
                    25595 Rouge River Drive
CI Web Design, IncDearborn Heights Michigan 48127                     2/22/2023    $940.00 Supplier
                    25595 Rouge River Drive
CI Web Design, IncDearborn Heights Michigan 48127                     3/21/2023    $940.00 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             1/23/2023   $3,546.10 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             1/25/2023   $5,888.55 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             1/30/2023   $6,198.55 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             2/10/2023   $3,048.77 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             2/13/2023   $2,793.86 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             2/21/2023   $2,957.35 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                              3/1/2023   $4,287.01 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                              3/9/2023   $3,083.51 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             3/13/2023   $4,373.16 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             3/24/2023   $2,993.75 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             3/27/2023   $4,433.16 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                             3/28/2023    $223.85 Supplier
                    PO Box 9394
                    Des Moines IA 50306-9394
Principal Financial Group                                              4/5/2023   $3,441.39 Supplier
                    PO Box 6575
Stericycle Inc      Carol Stream IL 60197-6575                        1/23/2023    $167.84 Supplier


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                    PO Box 6575
Stericycle Inc      Carol Stream IL 60197-6575                         2/22/2023     $138.14 Supplier
                    PO Box 6575
Stericycle Inc      Carol Stream IL 60197-6575                         3/29/2023      $157.94 Supplier
Regner Limited Trust Fund                                   0          1/23/2023    $5,000.00 Supplier
                    PO BOX 12140
Labcorp             Burlington NC 27216-2140                           1/23/2023   $39,703.26 Services
                    PO BOX 12140
Labcorp             Burlington NC 27216-2140                           2/21/2023   $32,528.88 Services
                    220 N. River Street
Leasing Associates East  Dundee IL INC.
                    of Barrington,  60118                              1/23/2023    $2,406.20 Debt
                    220 N. River Street
Leasing Associates East  Dundee IL INC.
                    of Barrington,  60118                              2/23/2023    $2,406.20 Debt
                    220 N. River Street
Leasing Associates East  Dundee IL INC.
                    of Barrington,  60118                              3/23/2023    $2,406.20 Debt
Costco                                                      0          1/23/2023     $331.42 Supplier
Costco                                                      0           2/7/2023     $182.51 Supplier
Costco                                                      0           3/1/2023     $189.02 Supplier
Costco                                                      0          3/15/2023     $224.45 Supplier
Costco                                                      0           4/7/2023     $124.81 Supplier
                    PO Box 660831
Applied Capital, LLCDallas TX 75266-0831                               1/23/2023     $327.44 Supplier
                    PO Box 660831
Applied Capital, LLCDallas TX 75266-0831                               1/27/2023     $179.28 Supplier
                    PO Box 660831
Applied Capital, LLCDallas TX 75266-0831                               2/23/2023     $366.27 Supplier
                    PO Box 660831
Applied Capital, LLCDallas TX 75266-0831                               2/27/2023     $216.24 Supplier
                    PO Box 660831
Applied Capital, LLCDallas TX 75266-0831                               3/23/2023     $366.27 Supplier
                    PO Box 660831
Applied Capital, LLCDallas TX 75266-0831                               3/27/2023     $216.24 Supplier
                    PO BOX 27128
Iron Mountain       New York NY 70087-7128                             1/23/2023     $916.70 Supplier


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                  PO BOX 27128
Iron Mountain     New York NY 70087-7128                              2/22/2023    $1,634.74 Supplier
                  PO BOX 27128
Iron Mountain     New York NY 70087-7128                              3/21/2023     $942.62 Supplier
Viviano Flower Shop                                        0          1/25/2023     $182.60 Supplier
                  One North Wacker Drive
                  #3925
                  Chicago
Silverman Consulting Inc. IL 60606                                    1/24/2023   $14,000.00 Services
                  One North Wacker Drive
                  #3925
                  Chicago
Silverman Consulting Inc. IL 60606                                    2/10/2023   $14,000.00 Services
                  One North Wacker Drive
                  #3925
                  Chicago
Silverman Consulting Inc. IL 60606                                    2/17/2023   $14,000.00 Services
                  One North Wacker Drive
                  #3925
                  Chicago
Silverman Consulting Inc. IL 60606                                    3/13/2023   $14,000.00 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                   1/24/2023 $100,000.00 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                   2/17/2023   $25,000.00 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                   2/21/2023    $1,364.50 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                   2/21/2023   $13,635.50 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                   3/17/2023   $30,000.00 Services




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                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                   3/23/2023 $100,000.00 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                    4/4/2023    $7,000.00 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                    4/4/2023   $26,220.00 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                    4/5/2023    $7,000.00 Services
                  1000 Cordova Place
                  Suite 206
Medcare MSO       Sante Fe NM 87505                                   4/10/2023    $7,000.00 Services
                  2021 Paragon Dr
Barcode Factory Erie PA 16510                                         1/26/2023     $508.32 Supplier
                  2021 Paragon Dr
Barcode Factory Erie PA 16510                                          4/4/2023     $508.32 Supplier
                  29580 Northwestern Hwy
                  Suite #1000
                  Southfield
The Medical Real Estate GroupMI 48034                                 1/25/2023   $50,000.00 Rent
                  29580 Northwestern Hwy
                  Suite #1000
                  Southfield
The Medical Real Estate GroupMI 48034                                 3/15/2023   $50,000.00 Rent
                  29580 Northwestern Hwy
                  Suite #1000
                  Southfield
The Medical Real Estate GroupMI 48034                                 3/25/2023   $50,000.00 Rent
                  341 George St,
                  Sydney NSW 2000
Atlassian         Australia                                           1/25/2023    $1,223.95 Supplier
                  341 George St,
                  Sydney NSW 2000
Atlassian         Australia                                            2/6/2023      $73.50 Supplier


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                  341 George St,
                  Sydney NSW 2000
Atlassian         Australia                                        2/27/2023    $601.50 Supplier
                  341 George St,
                  Sydney NSW 2000
Atlassian         Australia                                         3/6/2023     $49.00 Supplier
                  341 George St,
                  Sydney NSW 2000
Atlassian         Australia                                        3/27/2023    $784.75 Supplier
                  341 George St,
                  Sydney NSW 2000
Atlassian         Australia                                         4/4/2023     $56.00 Supplier
CheckRun          Online                                           1/26/2023     $50.00 Supplier
CheckRun          Online                                           2/27/2023     $50.00 Supplier
CheckRun          Online                                           3/27/2023     $50.00 Supplier
                  Client Services
                  PO Box 88278
TASC              Milwaukee WI 53288-0001                          1/26/2023    $693.59 Services
                  Client Services
                  PO Box 88278
TASC              Milwaukee WI 53288-0001                          2/23/2023    $814.75 Services
                  Client Services
                  PO Box 88278
TASC              Milwaukee WI 53288-0001                          3/28/2023    $707.80 Services
                  460 Park Ave South
Pipedrive, Inc.   New York NY 10016                                1/26/2023     $21.37 Supplier
                  460 Park Ave South
Pipedrive, Inc.   New York NY 10016                                 2/6/2023    $479.20 Supplier
                  460 Park Ave South
Pipedrive, Inc.   New York NY 10016                                 3/6/2023    $479.20 Supplier
                  460 Park Ave South
Pipedrive, Inc.   New York NY 10016                                 4/6/2023    $599.00 Supplier




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                   370 E. Maple Road
                   Third Floor
                   Birmingham MI 48009
Lippitt O'Keefe, PLLC                                                    1/26/2023    $6,000.00 Services
                   370 E. Maple Road
                   Third Floor
                   Birmingham MI 48009
Lippitt O'Keefe, PLLC                                                    3/22/2023   $12,000.00 Services
                   7683 SE 27th Street
                   Suite # 352
                   Mercer
Translational Software, Inc.Island WA 98040                              1/26/2023    $6,541.00 Supplier
                   7683 SE 27th Street
                   Suite # 352
                   Mercer
Translational Software, Inc.Island WA 98040                               2/9/2023     $569.09 Supplier
                   7683 SE 27th Street
                   Suite # 352
                   Mercer
Translational Software, Inc.Island WA 98040                              2/13/2023    $6,677.91 Supplier
                   7683 SE 27th Street
                   Suite # 352
                   Mercer
Translational Software, Inc.Island WA 98040                              2/13/2023      $60.15 Supplier
                   7683 SE 27th Street
                   Suite # 352
                   Mercer
Translational Software, Inc.Island WA 98040                              3/21/2023    $1,894.13 Supplier
                   7683 SE 27th Street
                   Suite # 352
                   Mercer
Translational Software, Inc.Island WA 98040                              3/22/2023    $7,515.87 Supplier
                   P.O. Box 847950
eClinicalWorks, LLCBoston MA 02284-7950                                  1/26/2023    $3,710.00 Supplier
                   P.O. Box 847950
eClinicalWorks, LLCBoston MA 02284-7950                                  1/26/2023    $5,300.00 Supplier
                   P.O. Box 847950
eClinicalWorks, LLCBoston MA 02284-7950                                  1/26/2023    $5,300.00 Supplier
                   P.O. Box 847950
eClinicalWorks, LLCBoston MA 02284-7950                                   2/1/2023    $5,300.00 Supplier
                   P.O. Box 847950
eClinicalWorks, LLCBoston MA 02284-7950                                   2/3/2023    $5,300.00 Supplier


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                   P.O. Box 847950
eClinicalWorks, LLCBoston MA 02284-7950                                  2/7/2023   $3,710.00 Supplier
                   P.O. Box 847950
eClinicalWorks, LLCBoston MA 02284-7950                                  4/1/2023   $2,650.00 Supplier
Mass Mutual                                                  0          1/30/2023    $811.28 Supplier
Mass Mutual                                                  0          2/28/2023    $811.28 Supplier
Mass Mutual                                                  0          3/28/2023    $811.28 Supplier
                   P.O. Box 594
Edge Solutions     Richmond MI 48062                                    1/30/2023   $1,552.67 Supplier
                   P.O. Box 594
Edge Solutions     Richmond MI 48062                                     4/5/2023   $1,214.57 Supplier
                   P.O. Box 594
Edge Solutions     Richmond MI 48062                                     4/5/2023   $1,111.96 Supplier
                   PO BOX 94188
                   Palatine IL 60094-4188
Charter Communications                                                  1/30/2023     $77.97 Supplier
                   PO BOX 94188
                   Palatine IL 60094-4188
Charter Communications                                                   3/1/2023     $77.97 Supplier
                   PO BOX 94188
                   Palatine IL 60094-4188
Charter Communications                                                  3/29/2023     $77.97 Supplier
                   PO BOX 44953
Esker Inc          Madison WI 53744-4953                                1/30/2023   $1,195.45 Supplier
                   PO BOX 44953
Esker Inc          Madison WI 53744-4953                                 3/2/2023   $1,141.50 Supplier
                   PO BOX 44953
Esker Inc          Madison WI 53744-4953                                3/30/2023    $937.80 Supplier
Avis                                                         0          1/30/2023    $198.33 Supplier
Avis                                                         0          3/17/2023    $118.72 Supplier
                   4425 Hill Clinic Avenue
Hill Clinic, LLC.  Toledo OH 43615                                       2/1/2023    $500.10 Rent
                   4425 Hill Clinic Avenue
Hill Clinic, LLC.  Toledo OH 43615                                       3/1/2023    $500.10 Rent
                   3959 Centerpoint Pkwy.
                   Pontiac
Auburn Hills Medical       MI 48341
                      Properties,  LLC                                   2/6/2023    $991.00 Supplier



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                    3959 Centerpoint Pkwy.
Auburn Hills MedicalPontiac MI 48341
                       Properties, LLC                                    3/1/2023     $991.00 Supplier
                    355 N. Center Road
Tri-City Treatment Saginaw MI 48368                                      3/15/2023     $308.58 Rent
                    29580 Northwestern Hwy Suite #1000
6600 Highland, LLCSouthfield MI 48034                                    3/15/2023   $25,000.00 Rent
                    801 Peach Tree Ln.
                    Rochester
Little Sonia Real Estate LLC Hills MI 48306                              3/15/2023    $1,698.75 Rent
                    23929 Valencia Boulevard, Second Floor
                    Valencia
Petersen International       CA 91355
                         Underwriters                                     2/1/2023    $6,242.48 Supplier
                    23929 Valencia Boulevard, Second Floor
                    Valencia
Petersen International       CA 91355
                         Underwriters                                     3/1/2023    $6,242.48 Supplier
                    23929 Valencia Boulevard, Second Floor
                    Valencia
Petersen International       CA 91355
                         Underwriters                                     4/1/2023    $6,242.48 Supplier
                    701 Congressional Blvd.
                    Suite 360
                    Carmel IN 46032
Orchard Software Corporation                                              2/3/2023    $8,595.00 Supplier
                    701 Congressional Blvd.
                    Suite 360
                    Carmel IN 46032
Orchard Software Corporation                                             3/13/2023   $20,405.00 Supplier
                    PO Box 660916
The Hartford        Dallas TX 75266-0916                                  2/2/2023    $6,265.50 Supplier
                    PO Box 660916
The Hartford        Dallas TX 75266-0916                                 2/14/2023   $12,558.00 Supplier
                    PO Box 660916
The Hartford        Dallas TX 75266-0916                                 2/23/2023   $10,184.84 Supplier
                    PO Box 660916
The Hartford        Dallas TX 75266-0916                                 2/28/2023   $12,558.00 Supplier
                    PO Box 660916
The Hartford        Dallas TX 75266-0916                                 3/28/2023    $6,262.50 Supplier
                    PO Box 660916
The Hartford        Dallas TX 75266-0916                                 3/28/2023    $5,912.06 Supplier
                    1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                      2/1/2023   $12,000.00 Supplier


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                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                    2/2/2023   $33,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   2/15/2023 $100,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   2/16/2023   $11,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   2/21/2023   $32,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   2/24/2023   $25,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   2/24/2023   $20,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   2/28/2023   $40,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                    3/3/2023   $40,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   3/10/2023   $40,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   3/20/2023   $50,000.00 Supplier
                 1209 North Orange Street
iOpen World Inc. Wilmington DE 19801                                   3/23/2023   $50,000.00 Supplier
                 28287 Beck Rd.
                 Unit D-14
MCW Partners, LLCWixom MI 48393                                        2/24/2023     $302.10 Services
                 28287 Beck Rd.
                 Unit D-14
MCW Partners, LLCWixom MI 48393                                        2/24/2023     $302.10 Services
                 28287 Beck Rd.
                 Unit D-14
MCW Partners, LLCWixom MI 48393                                        2/24/2023      $47.70 Services
                 28287 Beck Rd.
                 Unit D-14
MCW Partners, LLCWixom MI 48393                                        2/24/2023      $47.70 Services


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                   28287 Beck Rd.
                   Unit D-14
MCW Partners, LLCWixom MI 48393                                         2/24/2023      $47.70 Services
                   28287 Beck Rd.
                   Unit D-14
MCW Partners, LLCWixom MI 48393                                         2/24/2023      $47.70 Services
                   28287 Beck Rd.
                   Unit D-14
MCW Partners, LLCWixom MI 48393                                         2/24/2023      $47.70 Services
                   28287 Beck Rd.
                   Unit D-14
MCW Partners, LLCWixom MI 48393                                          3/8/2023     $302.10 Services
Pitney Bowes                                                 0           2/1/2023     $100.00 Supplier
                   1600 Amphitheatre Pkwy
Google             Mountain View CA 94043                                2/2/2023      $79.20 Supplier
                   1600 Amphitheatre Pkwy
Google             Mountain View CA 94043                                3/2/2023      $79.20 Supplier
                   1600 Amphitheatre Pkwy
Google             Mountain View CA 94043                                4/4/2023      $79.20 Supplier
                   PO Box 749397
Phenomenex, Inc Los Angeles CA 90074                                    2/28/2023    $4,827.24 Supplier
                   PO Box 749397
Phenomenex, Inc Los Angeles CA 90074                                    2/28/2023    $4,848.64 Supplier
                   PO Box 749397
Phenomenex, Inc Los Angeles CA 90074                                    2/28/2023     $324.12 Supplier
                   PO Box 749397
Phenomenex, Inc Los Angeles CA 90074                                    3/15/2023   $11,850.00 Supplier
Fast Fingerprints                                            0           3/8/2023       $99.00 Supplier
                   305 Church at North Hills Street
                   Raleigh
Allscripts Healthcare, LLC NC 27609                                     2/17/2023    $3,501.00 Supplier
                   3055 Cass Rd Ste 123
Great Lakes ExpressTraverse City
                     Delivery, LLCMI 49684                               4/5/2023    $1,485.00 Services
VPAY                                                         0           2/2/2023       $49.50 Services
VPAY                                                         0           3/6/2023       $58.50 Services


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VPAY                                                        0           4/4/2023     $33.75 Services
Square                                                      0           2/3/2023    $140.00 Services
Square                                                      0           3/3/2023    $140.00 Services
Square                                                      0           4/3/2023    $140.00 Services
                    450 Skokie Blvd Suite 1000
                    Northbrook IL 60062-7917
First Insurance Funding                                                 2/3/2023   $7,159.54 Supplier
                    450 Skokie Blvd Suite 1000
                    Northbrook IL 60062-7917
First Insurance Funding                                                 2/3/2023   $3,415.46 Supplier
                    450 Skokie Blvd Suite 1000
                    Northbrook IL 60062-7917
First Insurance Funding                                                 3/2/2023   $7,159.54 Supplier
                    450 Skokie Blvd Suite 1000
                    Northbrook IL 60062-7917
First Insurance Funding                                                3/29/2023   $7,159.54 Supplier
                    345 Park Avenue
Adobe (ACH)         San Jose CA 95110-2704                              2/8/2023    $599.71 Supplier
                    345 Park Avenue
Adobe (ACH)         San Jose CA 95110-2704                              3/8/2023    $306.20 Supplier
                    345 Park Avenue
Adobe (ACH)         San Jose CA 95110-2704                             4/10/2023    $306.20 Supplier
State of Michigan                                           0           2/9/2023     $25.00 Tax
La Marsa                                                    0          2/10/2023    $249.63 Supplier
La Marsa                                                    0          3/13/2023     $45.38 Supplier
DoorDash                                                    0          2/14/2023      $9.99 Services
DoorDash                                                    0          3/14/2023      $9.99 Services
                    Department 9526
                    PO Box 30516
American ProficiencyLansing  MI 48909-8016
                       Institute                                       2/21/2023   $3,733.00 Supplier
                    37709 Schoolcraft Road
                    Livonia MI 48150
Clean Air Testing, Inc                                                 2/21/2023   $1,097.82 Supplier
                    330 East Kilbourn Avenue
                    Suite 1170
                    Milwaukee
Gimbel, Reilly, Guerin  & BrownWisconsin
                                 LLP      53202                        2/27/2023   $5,000.00 Services
                    7956 Tyler BLVD
CoreBioLabs         Mentor OH 44060                                    2/23/2023    $750.00 Supplier



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                  7956 Tyler BLVD
CoreBioLabs       Mentor OH 44060                                          3/6/2023    $750.00 Supplier
                  7956 Tyler BLVD
CoreBioLabs       Mentor OH 44060                                         3/17/2023    $750.00 Supplier
Toast                                                          0          2/24/2023    $250.20 Supplier
                  3430 Vineyard Hill Dr.
OMG & The A Team  Rochester  HillsLLC
                    Consulting,     MI 48306                               3/9/2023   $1,000.00 Services
                  3430 Vineyard Hill Dr.
OMG & The A Team  Rochester  HillsLLC
                    Consulting,     MI 48306                              3/13/2023   $2,000.00 Services
                  32600 Telegraph Rd.
                  Suite 200
                  Bingham Farms
Spartan Wealth Management     Inc. MI 48025                                3/1/2023   $2,035.98 Services
                  21202 N. 18th St
Wendy Hutton      Barrington IL 60010-2706                                 3/9/2023    $181.56 Services
                  29488 Woodward Ave
                  Suite 451
                  Royal
Bryan D. Marcus, PS     Oak MI
                    Lawyer's      48073
                              Trust  Account                               3/1/2023    $340.00 Services
                  328 1st st
                  Apt 204
Xavier Barber     Rochester MI 48307                                       3/6/2023     $111.36 Services
Delta Air                                                      0           3/6/2023   $1,301.40 Services
                  Attn: Laurie Gaborik
                  411 West Lafayette
                  7th Floor, MC3238
                  Detroit
Comerica Bank - Cost      MI 48226
                      Center 048-95890                                    3/15/2023   $5,000.00 Services
                  Attn: Laurie Gaborik
                  411 West Lafayette
                  7th Floor, MC3238
                  Detroit
Comerica Bank - Cost      MI 48226
                      Center 048-95890                                    3/22/2023   $5,000.00 Services
                  Attn: Laurie Gaborik
                  411 West Lafayette
                  7th Floor, MC3238
                  Detroit
Comerica Bank - Cost      MI 48226
                      Center 048-95890                                    3/29/2023   $5,000.00 Services
ALO Lodging                                                    0           3/7/2023    $291.84 Services


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Mark Beauchamp                                                  0          3/13/2023    $8,333.33 Supplier
                    241 Madison Street
                    Detroit MI 48226-0263
Detroit Athletic Club                                                      3/15/2023    $1,837.98 Supplier
                    58320 Fairfax Rd.
Rhoda Yoder         Colon MI 49040-9705                                     4/6/2023      $40.13 Supplier
                    58320 Fairfax Rd.
Vernon Yoder        Colon MI 49040-9705                                     4/6/2023       $30.42 Supplier
Generac Power                                                   0          3/16/2023       $69.99 Supplier
Gaylen Curtis                                                   0          3/17/2023     $600.00 Supplier
Diesel Funding                                                  0          3/24/2023    $3,747.50 Supplier
Diesel Funding                                                  0          3/27/2023    $3,747.50 Supplier
Diesel Funding                                                  0          3/28/2023    $3,747.50 Supplier
Diesel Funding                                                  0          3/29/2023    $3,747.50 Supplier
Diesel Funding                                                  0          3/30/2023    $3,747.50 Supplier
Diesel Funding                                                  0           4/3/2023    $3,747.50 Supplier
Diesel Funding                                                  0           4/4/2023    $3,747.50 Supplier
Diesel Funding                                                  0           4/5/2023    $3,747.50 Supplier
Diesel Funding                                                  0           4/6/2023    $3,747.50 Supplier
Robert N. Bassel, ESQ                                           0           4/4/2023    $7,500.00 Services
                    2 Lone Pine Rd
O'Keefe LLC         Bloomfield Hills MI 48304                              4/12/2023   $10,000.00 Services




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                    Insider Payments

Payee          Address                 Date       Total        Reason for Payment
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    04/14/2022 $ 6,758.42 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    04/16/22   $ 19,230.77 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    04/22/2022 $ 3,127.99 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    04/30/22   $ 19,230.77 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/02/2022 $ 4,673.21 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/04/2022 $ 6,750.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/14/22   $ 19,230.77 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/16/2022 $ 7,633.67 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/17/2022 $ 7,433.66 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/19/2022 $ 5,876.31 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/20/2022 $ 3,375.31 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/24/2022 $ 6,000.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    05/28/22   $ 19,230.77 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/01/2022 $     800.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/02/2022 $ 6,346.52 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/06/2022 $ 3,365.43 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/07/2022 $ 2,362.46 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/08/2022 $ 12,826.21 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/17/2022 $ 4,893.22 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/21/2022 $ 3,310.91 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/24/2022 $ 4,852.23 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/28/2022 $ 5,070.11 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    06/30/2022 $ 3,893.65 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360    07/01/2022 $ 1,836.41 Expenses


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               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   07/08/2022 $ 2,833.42 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   07/12/2022 $ 4,265.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   07/15/2022 $ 2,190.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   07/26/2022 $ 2,307.88 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   08/01/2022 $     836.33 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   08/04/2022 $ 2,307.88 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   08/11/2022   $ 5,000.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   08/22/2022 $ 2,308.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   08/22/2022 $      60.20 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   08/30/2022 $ 3,750.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   08/31/2022 $ 2,307.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   08/31/2022 $      57.67 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/06/2022 $ 1,800.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/07/2022 $ 8,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/07/2022 $ 1,836.36 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/07/2022 $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/07/2022 $      60.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/09/2022 $ 1,812.27 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/12/2022 $ 1,812.32 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/14/2022 $      60.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/14/2022 $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/14/2022 $ 3,631.37 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/19/2022 $ 2,613.39 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/19/2022 $ 3,113.36 Expenses



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               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/20/2022 $ 8,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/22/2022 $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/26/2022 $ 2,816.21 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/27/2022 $ 2,000.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/28/2022 $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/29/2022 $ 1,102.06 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/30/2022 $ 4,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   09/30/22     $ 1,000.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/03/2022 $ 5,000.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/04/2022 $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/05/2022 $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/12/2022 $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/13/2022 $ 4,300.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/18/2022 $ 1,937.65 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/19/2022 $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/21/2022 $ 2,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/25/2022 $ 2,133.65 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/26/2022 $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/31/2022 $ 1,936.37 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   10/31/2022 $ 10,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/02/2022   $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/04/2022   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/07/2022   $ 2,306.76 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/08/2022   $ 4,500.00 Salary



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               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/10/2022   $ 2,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/14/2022   $ 6,637.65 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/14/2022   $ 7,000.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/16/2022   $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/18/2022   $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/18/2022   $ 1,567.33 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/23/2022   $     296.94 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/23/2022   $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/25/2022   $ 1,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/28/2022   $     550.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/29/2022   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   11/30/2022   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/01/2022 $ 6,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/02/2022 $ 1,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/06/2022 $       393.80 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/06/2022 $       100.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/06/2022 $ 1,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/06/2022 $ 1,683.33 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/07/2022 $ 4,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/09/2022 $ 1,650.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/09/22     $     850.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/09/2022 $       816.67 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/12/2022 $ 1,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/13/2022 $ 5,000.00 Salary



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               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/15/2022 $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/19/22   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/20/22   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/21/22   $ 4,978.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/23/22   $ 10,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/23/22   $ 4,979.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/29/22   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   12/30/22   $ 5,000.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/04/23   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/05/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/10/23   $ (296.94) Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/10/23   $ 2,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/10/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/11/23   $ 3,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/11/23   $ 1,147.64 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/13/23   $ 1,527.80 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/17/23   $     212.67 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/17/23   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/18/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/21/23   $     225.75 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/23/23   $     103.69 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/24/23   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/24/23   $      98.87 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/25/23   $ 2,500.00 Salary



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               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/27/23   $ 3,482.30 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/28/23   $ 1,837.32 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   01/28/23   $ 11,589.39 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/09/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/10/23   $     750.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/13/23   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/14/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/21/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/21/23   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/24/23   $ 1,836.32 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/27/23   $     826.93 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   02/28/23   $ 13,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/06/23   $ 5,000.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/06/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/10/23   $ 2,163.39 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/13/23   $     450.00 Expenses
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/14/23   $     222.16 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/15/23   $ 7,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/16/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/16/23   $ 1,212.60 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/24/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/24/23   $ 7,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   03/31/23   $ 2,500.00 Salary
               1344 Addington Ct.,
James Grossi   Lake Orion, MI 48360   04/07/23   $ 9,615.38 Salary



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                7270 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346      9/30/2022   $ 1,979.79 Hourly Wages
                7271 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346      12/9/2022   $     358.75 Hourly Wages
                7272 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346     12/23/2022   $     664.84 Hourly Wages
                7273 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346       1/6/2023   $     748.13 Hourly Wages
                7274 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346      1/20/2023   $     735.00 Hourly Wages
                7275 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346       2/3/2023   $     667.28 Hourly Wages
                7276 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346      2/17/2023   $     647.50 Hourly Wages
                7277 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346       3/3/2023   $     756.88 Hourly Wages
                7278 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346      3/17/2023   $     936.25 Hourly Wages
                7279 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346      3/31/2023   $ 1,023.75 Hourly Wages
                7280 North Village Dr.,
Joesph Grossi   Clarkston, MI 48346      4/14/2023   $     857.50 Hourly Wages




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                                                Lawsuits


Part 3: Legal Ac ons or Assignments
Case Title                     Nature of Case                               Court or agency's name and address        Status of case
Coronis Health RCM, LLC        Business Case, business dispute              Name      State of Michigan 6th Court     Pending        x
Case Number                                                                 Street    1200 N. Telegraph Rd.           On appeal
2022-197804-CB                                                              City      Pon ac                          Concluded
                                                                            State     MI
                                                                            Zip Code     48341

Case Title                     Nature of Case                               Court or agency's name and address        Status of case
                                                                                      In the County Court at Law
Dell Marke ng, LP              Business Case, business dispute              Name      No. 1, Travis County, Texas     Pending          x
Case Number                                                                 Street    Law No. 1                       On appeal
C-1-CV-23-001160                                                            City      Travis County                   Concluded
                                                                            State     TX
                                                                            Zip Code

Case Title                     Nature of Case                               Court or agency's name and address        Status of case
Pro Aire Cargo & Consul ng,                                                           State of Wisconsin Circuit
Inc.                           Business Case, business dispute              Name      Court Winnebago County          Pending          x
Case Number                                                                 Street    415 Jackson St.                 On appeal
23-CV-33                                                                    City      Oshkosh                         Concluded
                                                                            State     WI
                                                                            Zip Code     54901

Case Title                     Nature of Case                               Court or agency's name and address        Status of case
Medline Industries, LP         Business Case, business dispute              Name      Circuit Court Cook County, IL   Pending        x
Case Number                                                                 Street    Law Division                    On appeal
2022L010159                                                                 City      Chicago                         Concluded
                                                                            State     IL
                                                                            Zip Code




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                                       Charitable Donations

                                                                                   Helix Diagnostics
                                                                                  Transaction Report
                                                                                  January - December 2021


                          Date                            Name                                            Address                                     Memo/Description          Amount      Balance
Charitable Donations
                                                                                      6770 Dixie Highway, Suite 200
                       05/25/2021   Easter Seals of Michigan                          Village of Clarkston, MI 48346                      Easter Seals Mental Health Campaign     500.00
                       05/27/2021   Notre Dame Preparatory School                     1300 Giddings Rd, Pontiac, MI 48340                                                       10,000.00
                                                                                      102 W Broad Street
                                                                                      P.O. Box #11
                       06/03/2021   Bridgeton Area Brothers United                    Bridgeton, NJ 08302-9998                            Charitable Donation                    5,800.00
                                                                                      2461 E Hudson Ave

                       08/13/2021   Eye Fight for Kids                                Royal Oak, MI 48067                                                                       10,000.00
                                                                                      15000 Trojan Street
                       08/13/2021   Jalen Rose Leadership Academy                     Detroit, MI 48235                                   Donation Reimbursement- JLRA           5,000.00
                       08/24/2021   Notre Dame Preparatory School                     1300 Giddings Rd, Pontiac, MI 48340                  Donation                              9,200.00
                                                                                      5935 Clarkston Rd, City of the Village of Clarkston,
                       09/09/2021   Everest Collegiate High School & Academy          MI 48348                                                                                   5,000.00
                       09/24/2021   Sponsorship                                                                                           Sponsorship                             300.00
                       09/27/2021   WHALEYCHILDRENSCT                                 1201 N Grand Traverse St, Flint, MI 48503           WHALEYCHILDRENSCT                      1,500.00
                                                                                      NFL Players Association
                                                                                      1133 20th St NW
                       11/22/2021   Former Players Inc.                               Washington, DC 20036                                Thanksgiving Donation                  6,000.00
                                                                                      102 W Broad Street
                                                                                      P.O. Box #11
                       12/15/2021   Bridgeton Area Brothers United                    Bridgeton, NJ 08302-9998                            Charitable Donation                    7,500.00
                       12/17/2021   Kroger                                                                                                KROGER #675                            5,495.00
                       12/31/2021   Willis Jean Cooper                                                                                    Charitable Donation                   36,000.00
                       01/20/2022   CE Stars                                                                                              Per Jim Football Team Sponsorship      3,000.00
                                                                                      PO Box 1138
                       02/07/2022   Impact 100 Metro Detroit                          Birmingham, MI 48012                                01-18-22                              12,100.00
                       02/08/2022   Chick-Fil-A                                                                                           CHICK-FIL-A                            2,989.14
                       03/29/2022   Chick-Fil-A                                                                                           CHICK-FIL-A                            3,149.80
                       04/29/2022   Oakland Schools                                   2111 Pontiac Lake Rd                                SQ *NW ITEAM                            500.00
                       06/28/2022   Chick-Fil-A                                                                                           CHICK-FIL-A                            3,000.00
                       07/01/2022   Chick-Fil-A                                                                                           CHICK-FIL-A                            3,993.14
                       07/19/2022   Chick-Fil-A                                                                                           CHICK-FIL-A                            2,091.02
                       07/19/2022   Chick-Fil-A                                                                                           CHICK-FIL-A                            1,512.87
                       11/15/2022   Detroit Has Heart                                 21800 Melrose Avenue Farmington Hills, MI 48075 Check#0000002055 CHECK (SUBSTITUTE)        5,000.00
                                    Big Brothers Big Sisters of Flint & Genesee
                       12/02/2022   County                                            1176 Robert T Longway Blvd, Flint, MI 48503         PAYPAL *BBBS FLINT                      100.00




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